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ATTORNEY FOR DEFENDANT ROJAS
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
UNITED STATES OF AMERICA,
CASE NO. CR-19-134

Plaintiff,
VS. NOTICE OF APPEAL
ROBERTO ROJAS,

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)
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Defendant. )
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Pursuant to Federal Appellate Rule 4(b), notice is hereby given that ROBERTO
ROJAS, Defendant in the above-named case hereby appeals to the United States
Court of Appeals for the Ninth Circuit from the Sentence and Judgment entered in

this action on the 16 day of February, 2021.
RESPECTFULLY SUBMITTED this 17" day of February, 2021.

/s/
ROB S. LEWIS
CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on the 17" day of February, 2021, a copy of this response
was electronically served via this Court’s ECF system on all parties upon filing
herein; | caused to be served a true and correct copy of the foregoing by the method
indicated below, and addressed to the following:

INMATE MAIL I] U.S. Mail
Roberto Rojas Pr
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R. Buck
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